Case 1:97-cr-00082-PLM          ECF No. 1069, PageID.646           Filed 03/17/09      Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,

               Plaintiff,
                                                             CASE NO. 1:97-CR-82
v.
                                                             HON. ROBERT HOLMES BELL
KEYLEN TREMELL BLACKMON,

               Defendant.
                                      /


                            MEMORANDUM OPINION AND ORDER

       This matter is before the Court on defendant’s Motion for Modification or Reduction of

Sentence Pursuant to 18 U.S.C. §3582(c)(2) (docket #998). Based on a review of defendant’s

motion, the Sentence Modification Report, submissions by counsel on behalf of the defendant

and the government, and the original criminal file, the Court has determined that the motion

should be denied for the following reason(s):

       At the time of sentencing on February 26, 1998, the Court found that defendant was

involved in at least 1.5 kilograms of cocaine base, for a base offense level of 38. At that time,

level 38 was the highest base offense level for crack cocaine. The presentence report indicated

defendant supplied anywhere from 1 to 18 kilograms of cocaine at a time during the time frame

of the conspiracy. Beginning in 1992, and continuing throughout the remainder of the

conspiracy, defendant was dealing almost exclusively in crack cocaine. Defendant did not object

to this information at the time of sentencing. Amendment 706 of the Sentencing Guidelines

lowered the base offense level for 1.5 kilograms of cocaine base to level 36. Presumably, had

Amendment 706 been in affect at the time of sentencing, the Court would have found defendant
Case 1:97-cr-00082-PLM         ECF No. 1069, PageID.647            Filed 03/17/09     Page 2 of 2




responsible for 4.5 kilograms or more of cocaine base, found at level 38, as defendant stated at

his plea that he would transport 1.5 kilos or more once or twice a month, maybe more.

       In addition, at the time of sentencing, defendant was granted a five-level downward

departure pursuant to Section 5K1.1. Defendant’s sentence was later reduced from 192 months

to 180 months pursuant to a Rule 35(b) motion for reduction. A sentence of 180 months is

appropriate, both under the guidelines and in consideration of all the factors contained within 18

U.S.C. §3553(a).

       ACCORDINGLY, defendant’s motion for sentence modification is DENIED.




DATED: March 16, 2009                         /s/ Robert Holmes Bell
                                             ROBERT HOLMES BELL
                                             UNITED STATES DISTRICT JUDGE
